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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

BNSF RAILWAY COMPANY, on                      Civil Action No.: CV-19-40-M-DLC
behalf of THE UNITED STATES OF
AMERICA
                 Plaintiff,                 AFFIDAVIT OF
                                            JEFFREY KANNE, MD
vs.
THE CENTER FOR ASBESTOS
RELATED DISEASE, INC.,
                 Defendant.


STATE OF WISCONSIN            )
                              ) ss.
County of Dane                )

      I, Jeffrey Kanne, being first duly sworn upon my oath, deposes and states:

      1.    I am over the age of 18 and competent to provide this sworn Affidavit.
                                        1


                                                                            Exhibit 72-1
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      2.     I am a NIOSH certified B-reader radiologist.

      3.     I have been a certified B-reader continuously since 2004.

      4.     In 2011, the Center for Asbestos Related Disease (CARD) contracted

to have me serve on CARD’s panel of NIOSH certified B-readers.

      5.     In that capacity, I have reviewed de-identified CARD patients’

radiographic studies, consisting of Chest X-rays and, for some individuals, also a CT

scan, for the purpose of classifying those images for findings that may be consistent

with pneumoconiosis.

      6.     The only materials I receive in forming my radiographic classifications

are these images referenced above, a B-reader classification form, and a return

envelope to send the B-reader form back to CARD.

      7.     I do not have any information about the de-identified CARD patients

related to asbestos exposure history, nor any other information about that CARD

patient.

      8.     In my capacity as a B-reading radiologist on CARD’s outside panel of

NIOSH certified B-readers, I do not have a patient-physician relationship with any

individual whose radiographic images were presented to me by CARD for

classification, nor is it not my job to diagnose any CARD patient, including for any

asbestos related disease. The responsibility for diagnosing lies with the CARD

patient’s physician(s).

                                         2


                                                                              Exhibit 72-2
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                       B-reader form for CARD patient J.P.
                                   (Exhibit A)

      9.     I have reviewed the CT B-reader classification report completed by me

related to a CT image taken on August 20, 2013, bearing a Facility Identification

Code of 3T057. I apparently signed and dated this form, which is attached to this

affidavit as Exhibit A, on or about August 21, 2014.

      10.    This B-reader classification form, by itself, does not, nor could it,

constitute a diagnosis of an asbestos-related disease.

      11.    This B-reader form indicates the presence of “Emphysema.”

      12.    Although this classification form can be read as saying that this patient

had lung abnormalities on the date that this CT image was taken, this report does not

conclude or even attempt to opine as to the cause of these lung abnormalities, this

report does not conclude that this patient has “asbestosis,” nor does this report

conclude that the abnormalities are related specifically to asbestos exposure.

      13.    After the deposition of my colleague, Christoper Meyer, it has come to

my attention that the CARD clinic has apparently cited my B-read classification

report or the B-read classification report of others of its NIOSH-certified B-reader

panel as the sole basis for submitting claims for Medicare benefits for CARD

patients.

      14.    After the deposition of my colleague, Dr. Cristopher Meyer, MD, it has

also come to my attention that the CARD clinic apparently cited my B-read
                                          3


                                                                                 Exhibit 72-3
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classification report for this individual (attached as Exhibit A) as the sole basis for

submitting a claim for Medicare benefits for this individual.

      15.    Specifically, CARD has apparently represented to the Social Security

Administration that my B-read report alone constitutes a “diagnosis” of asbestos

related disease for this individual.

      16.    This is not true. As noted in paragraph 8 above, my role as a B-reader

was not to diagnose any CARD patient, nor did my completion of any B-reader

classification form constitute a diagnosis of any CARD patient.

      17.    B-readers do not diagnose any individual, including those individuals

who were patients of CARD within the context of CARD’s screening program.

      18.    To suggest that my B-read classification report, for patient J.P. (or any

other CARD patient for that matter) constitutes a “diagnosis” of any kind, including

any diagnosis of “Asbestosis” or any other asbestos-related disease, is false.

                   Notice of Termination of B-reader Agreement
                                   (Exhibit B)

      19.     Based on information presented at Dr. Cristopher Meyer’s recent

deposition related to CARD’s practice of using of B-readers’ reports as a basis for

making Medicare claims for their patients, my employer, the University of

Wisconsin, has notified CARD that it intends to terminate its B-reader contract with

CARD.


                                          4


                                                                                 Exhibit 72-4
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      20.    Information that CARD has submitted patients for Medicare benefits

using my B-read classifications as a basis for that submission, was unknown to me

until after Dr. Meyer’s deposition of August 17, 2022.

      21.    A true and accurate copy of that Notice of Termination is attached as

Exhibit B.

      DATED this _____ day of September, 2022.



                                      Jeffrey Kanne



      SUBSCRIBED AND SWORN to before me on ________________, 2022,

by Jeffrey Kanne.



                                      Notary Signature
                                      My Commission Expires:




                                         5


                                                                           Exhibit 72-5
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                                                               Exhibit A-1

                                                                   Exhibit 72-6
